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                                 9:00 A.M.
              THE COLLINS J. SEITZ COURTROOM (19TH FLOOR)

                                           WEDNESDAY, JANUARY 17, 2024

Coram: SHWARTZ, MATEY and PHIPPS, Circuit Judges

                                 No. 22-3061

                          TAWAINNA ANDERSON,
                          INDIVIDUALLY AND AS
                             ADMINISTRATIX
                          OF THE ESTATE OF N.A.,
                           A DECEASED MINOR,
                                 Appellant
                                    v.
                            TIKTOK, INC.; et al.

Counsel for Appellant                      Counsel for Appellees

JEFFREY P. GOODMAN                         ANDREW J. PINCUS

(15 minutes per Court)                 (15 minutes per Court)
________________________________________________________________________

                              SUBMITTED

                                  No. 22-3194
                        Pursuant to 3rd Cir. LAR 34.1(a)

                           ALITO TIJWAN CROSS,
                                 Appellant
                                    v.
                             BUSCHMAN; et al.
                                  ______

                                  No. 22-3200
                        Pursuant to 3rd Cir. LAR 34.1(a)

                             MICHAEL GRANT,
                                 Appellant
                                    v.
                        CITY OF PHILADELPHIA; et al.
       Case: 22-3061   Document: 48    Page: 2    Date Filed: 01/17/2024




PAGE TWO – CONTINUED                      WEDNESDAY, JANUARY 17, 2024

Coram: SHWARTZ, MATEY and PHIPPS, Circuit Judges

                             SUBMITTED

                                 No. 23-1317
                       Pursuant to 3rd Cir. LAR 34.1(a)

                       UNITED STATES OF AMERICA
                                   v.
                          NICHOLAS STANLEY,
                                Appellant
                                 ______

                                 No. 23-1394
                       Pursuant to 3rd Cir. LAR 34.1(a)

                  JANIE SLAMON, as Executrix of the Estate
                      of James Slamon; ERIC LEWIS,
                                Appellants
                                    v.
                    CARRIZO (MARCELLUS) LLC; et al.
                                  ______

                                 No. 23-2121
                       Pursuant to 3rd Cir. LAR 34.1(a)

                          DR. GEORGE POLSON,
                                Appellant
                                   v.
                       VIVIMED LABS INC USA; et al.
